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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO.      1:12-cr-00341 LJO
12                                 Plaintiff,             STIPULATION REGARDING
                                                          CONTINUANCE; ORDER
13                 v.
14   THAVONE ONSYPHANLA,
15                                 Defendant.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for sentencing on Monday, March 31, 2014, at

21 8:30 a.m. before the Honorable U.S. District Judge Lawrence J. O’Neill.

22          2.      By this stipulation, the parties agree to continue sentencing to June 30, 2014, at 8:30
23
     a.m. for the following reasons:
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            3.      According to Mr. Litman, counsel for the defendant, the defendant has become the
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     primary care giver for his wife, who is in process for a heart transplant at a recognized heart center
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27 outside of the state where the defendant lives. In addition, due to his wife's failing heart, the

28 defendant is also the primary person providing care for his mother-in-law, who lives with them and
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     has a number of serious medical conditions.
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            4.      Mr. Litman also believes that his client is in full compliance with his conditions of
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 3 release and has had no new arrests or contacts with law enforcement.

 4   IT IS SO STIPULATED.
 5 DATED:           March 6, 2014.          Respectfully submitted,
 6                                          BENJAMIN B. WAGNER
                                            United States Attorney
 7

 8                                          /s/ Karen A. Escobar___________________
                                            KAREN A. ESCOBAR
 9                                          Assistant United States Attorney
10
     DATED:         March 6, 2014.
11
                                            /s/ Roger Litman
12                                          ROGER LITMAN
                                            Counsel for Defendant
13
                                    ORDER
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     This is unquestionably GOOD CAUSE and is GRANTED. Mr. Litman is advised that this Court is
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     Sending its concern to his family at this difficult time of coping with health issues.
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17 IT IS SO ORDERED.

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        Dated:     March 6, 2014                              /s/ Lawrence J. O’Neill
19                                                      UNITED STATES DISTRICT JUDGE

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